                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:13-00056
                                                    )      JUDGE CAMPBELL
CHRISTOPHER WILCOX, et al.                          )

                                            ORDER

         The proposed plea agreements for Defendants Wilcox, Mitchell, and Roberts will be

considered at the change of plea hearing scheduled for Thursday, November 21, 2013, at 1:00

p.m.

         It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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